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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

ALYCE NEVINS                                      §
                                                  §      C.A. NO. 17-475
VS.                                               §
                                                  §
UNITED STATES POSTAL SERVICE                      §
AND UNITED STATES OF AMERICA                      §


               RULE 41(A)(I) NOTICE OF DISMISSAL WITHOUT PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, ALYCE NEVINS, in the above-styled and captioned matter and

files this her Rule 41 (A)(l) Notice of Dismissal and in support would show as follows:

        1.      Plaintiff filed this action on or about May 17, 2017.

        2.      No Defendant hereto has made an appearance/filed an answer at this

time.

        3.      Plaintiff desires to dismiss her lawsuit at this time while she pursues

administrative claim remedies.

        4.      Plaintiff intends to dismiss without prejudice if and only if the

administrative claims process does not successfully resolve this matter and litigation

should become necessary.

        5.      As no Defendant has appeared and answered in this lawsuit, Plaintifffiles

this her Notice of Dismissal without Prejudice, which requires no order.

        6.      Plaintiff requests that this Honorable Court take Notice of Plaintiffs Rule

41 (A)(l) Notice of Dismissal Without Prejudice.
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              Respectfully submitted,

              CARRIGAN, MCCLOSKEY & ROBERSON, L.P.

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